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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                               Case No. 6:18-bk-06821-LVV

DON KARL JURAVIN,                                    Case No. 6:20-bk-1801-LVV
                                                     Jointly Administered

                                                     Chapter 7
         Debtor.                       /

           SHAY ZUCKERMAN’S NOTICE OF WITHDRAWAL OF PROOF OF CLAIM

         Shay Zuckerman files this notice of the withdrawal of proof of claim #12 filed on January

2, 2020.

                                              HOFFMAN, LARIN & AGNETTI., P.A.
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                                              /s/ Michael S. Hoffman
                                              Michael S. Hoffman
                                              Florida Bar No.: 41164
